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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         Plaintiffs,
  v.                                                          Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        Defendant.
  _____________________________________/

       W&K INFO DEFENSE LLC’S MOTION FOR ENTRY OF TAXABLE COSTS OF
            LITIGATION AND SUPPORTING MEMORANDUM OF LAW

         W&K Info Defense Research, LLC (“W&K”) hereby moves for an award of costs of

  this litigation pursuant to Federal Rule of Civil Procedure 54(d), Local Rule 7.3(c) and 28

  U.S.C. §1920, and this Court’s entry of Final Judgment [ECF No. 814].

         After a three-week trial, the jury returned a $100 million verdict in favor of W&K. On

  December 6, 2021, this Court entered Final Judgment in favor of W&K. [ECF No. 814].

  According, W&K is the prevailing party, and seeks its costs under Federal Rule of Civil

  Procedure 54(d) and 28 U.S.C. §1920.

         As more particularly set forth below, W&K seeks to recover the following taxable

  costs: (1) deposition transcript costs; (2) witness fees; (3) subpoena service fees and (4) hearing

  transcript costs. As explained below, these costs were reasonable and necessary for the

  prosecution of this case.
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                                  MEMORANDUM OF LAW

        I.      Legal Standard

         Prevailing parties are entitled to recover taxable costs under Federal Rule of Civil

  Procedure 54(d)(1). EEOC v. W&O, Inc., 213 F.3d 600, 620 (11th Cir. 2000). “A ‘prevailing

  party,’ for purposes of the rule generally, is a party in whose favor judgment is rendered, this

  means the party who won at the trial level, whether or not that party prevailed on all issues,

  and regardless of the amount of damages awarded.” Miccosukee Tribe of Indians of Fla. v.

  Kraus-Anderson Constr. Co., No. 04-22774-CIV-UNGARO/O’SULLIVAN, 2007 U.S. Dist.

  LEXIS 56396, at *2 (S.D. Fla. Aug. 2, 2007). Rule 54(d) creates a strong presumption in

  favor of awarding costs to the prevailing party. Head v. Medford, 62 F.3d 351, 354-355 (11th

  Cir. 1995). The Court may tax the following enumerated costs under federal law:

                (1)     Fees of the clerk and marshal;
                (2)     Fees for printed or electronically recorded transcripts necessarily
                obtained for use in the case;
                (3)     Fees and disbursements for printing and witnesses;
                (4)     Fees for exemplification and the costs of making copies of any materials
                where the copies of any materials where the copies are necessarily obtained for
                use in the case;
                (5)     Docket fees under section 1923 of this title;
                (6)     Compensation of court appointed experts, compensation of interpreters,
                and salaries, fees, expenses, and costs of special interpretation services under
                section 1828 of this title.

  See 28 U.S.C. §1920.

         The prevailing party is entitled to a full award of costs, and the Court is not required

  to analyze whether particular costs are primarily attributable to certain claims, nor can costs

  be reduced to reflect Plaintiff’s overall success. See e.g. Brown Jordan Int'l, Inc. v. Carmicle,

  No. 14-60629-CV, 2017 WL 5633312, at *7 (S.D. Fla. Aug. 7, 2017) (finding that as a

  prevailing party, plaintiffs are entitled to a “full award of costs” and that the “Court is not



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  required to sift through Plaintiffs’ costs and analyze whether particular costs are primarily

  attributable to those claims . . ..”). “When challenging whether costs are taxable, the losing

  party bears the burden of demonstrating that a cost is not taxable, unless the knowledge

  regarding the proposed cost is within the exclusive knowledge of the prevailing party.”

  Monelus v. Tocodrian, Inc., 609 F. Supp. 2d 1328, 1333 (S.D. Fla. 2009).

        II.     Argument

         W&K moves for an order taxing the following costs against Defendant:

         (1) deposition transcripts;

         (2) witness fees;

         (3) subpoena fees; and

         (4) hearing transcript costs, as set forth in the Bill of Costs, attached as Exhibit A1,

  and supporting documentation, attached as Exhibit A-1 (Itemized Costs Chart), Composite

  Exhibit A-2 (Deposition Transcripts Invoices), Composite Exhibit A-3 (Witness and

  Subpoena Fees Invoices), and Composite Exhibit A-4 (Hearing and Trial Invoices)

  thereto.

        III.    Costs For Printed Or Electronically Recorded Transcripts Necessarily
                Obtained For Use In The Case

         Deposition transcript costs may be taxed when they are reasonable in light of the facts

  known at the time the depositions were taken. See Rivers v. Orthopedic Sys., Inc., 2006 WL

  5838358, at *1 (S.D. Fla. Nov. 28, 2006); W&O, Inc., 213 F.3d at 621 (deposition costs are

  properly taxed where they are “related to an issue which was present in the case at the time

  the deposition was taken”) (quotation omitted). In addition, W&K is entitled to seek the costs


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   The Bill of Costs is printed on form AO 133 of the Administrative Office of the United
  States Courts in accordance with Local Rule 7.3(c).


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  of the deposition transcripts ordered in this case pursuant to 28 U.S.C. §1920(2).

  Reimbursement for fees of the court reporter for printed or electronically recorded transcripts

  necessarily obtained for use in this case are specifically permitted. Miles v. Jones, 2011 WL

  10565588, at *2 (S.D. Fla. Feb. 4, 2011); see also Price v. United Techs. Corp., 2000 U.S. Dist.

  LEXIS 21504, at *2 (S.D. Fla. Nov. 16, 2000).

         The depositions taken in this case were reasonable and related to issues in this case,

  and W&K is therefore entitled to recover their associated costs.

         W&K noticed nearly all of its depositions in this case for video recording, and many

  of the depositions were taken remotely by video. W&K thus incurred costs to purchase the

  video recording. In addition, many of the witnesses were outside the subpoena range of the

  Court and therefore video recordings were necessary for trial. In fact, the parties each

  designated portions of the video recordings from the non-local witnesses for potential

  presentation at trial and presented many of the videos at trial. Furthermore, Defendant noticed

  many of his depositions to be conducted remotely and to be recorded on video, and did not

  object to W&K’s notices of videotaped depositions, and thus, costs for the videotapes are also

  recoverable. See Kapila v. Davis, Graham & Stubbs, LLP, No. 15-6106-CIV-RNS (S.D. Fla.

  June 6, 2018), report and recommendation adopted, No. 15-6106-CIV-RNS (S.D. Fla. July

  25, 2018) (finding that it was reasonable for defendants to obtain both stenographic transcripts

  and videotapes of depositions, and costs of videotaped depositions should be taxable); Rivers,

  2006 WL 5838358, at *2 (“Costs for videotaped depositions are awarded where a party

  noticed the deposition to be recorded, but no objection was made at that time.”); see also

  Morrison v. Reichhold Chemicals, Inc., 97 F.3d 460, 465 (11th Cir. 1996) (finding it

  appropriate to award the cost of conducting a deposition in the manner noticed, if there is no




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  objection by the other party to the method of recordation).

        The Eleventh Circuit has held that “[a] district court may tax costs associated with the

  depositions submitted by the parties in support of their summary judgment motions.” W&O,

  Inc., 213 F.3d at 621; see also Rivers, 2006 WL 5838358, at *1 (defendants’ depositions were

  taxable where they included individuals identified on plaintiff’s witness list and witnesses

  necessary to the preparation of summary judgment briefing). W&K obtained copies of the

  deposition transcripts set forth below and used almost all of transcripts in support of its

  position in this matter, including, but not limited to, in its Motion for Summary Judgment

  [ECF No. 511] and their Statement of Material Facts in Support of their Motion for Summary

  Judgment [ECF No. 550].

        Moreover, many of these depositions were used at trial. Specifically, the depositions of

  Gavin Andresen, Deborah Kobza, Donald Lynam, James Nguyen, Andrew O’Hagan, Robert

  Radvanovsky, Jonathan Warren, Ramona Watts, James Wilson, Lynn Wright, and W&K,

  were all used during trial. Moreover, even for those that were not used at trial, the costs are

  still taxable given the necessity of the depositions at the time they were taken. Lovett v.

  KLLM, Inc., 2007 WL 983192, *6 (N.D. Ga. March 26, 2007) (citing W&O, 213 F.3d at 620-

  22) (“Obtaining deposition transcripts for use during discovery may be taxable as long as it is

  necessary to the issues in the case when the deposition was taken.”). And even if there were

  depositions that were neither cited in the summary judgment papers nor designated for trial,

  this district has held that the costs are normally taxed if they were “taken within the proper

  bounds of discovery,” as all of these depositions were. See Woods v. Deangelo Marine

  Exhaust Inc., 2010 WL 4116571, at *5 (S.D. Fla. Sept. 27, 2010), report and recommendation

  adopted, 2010 WL 4102939 (S.D. Fla. Oct. 18, 2010) (noting that “a deposition taken within



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  the proper bounds of discovery ... will normally be deemed to be ‘necessarily obtained for use

  in the case’ and its costs will be taxed unless the opposing party interposes a specific objection

  that the deposition was improperly taken or unduly prolonged”).

        Deposition costs are taxable even if a prevailing party’s use of a deposition is minimal

  or not critical to that party’s ultimate success, unless the losing party demonstrates that the

  deposition was not related to an issue present in the case at the time of the deposition. Young

  v. Eslinger, 2008 U.S. Dist. LEXIS 32441 at *5 (M.D. Fla. March 4, 2008) (citations omitted);

  Ferguson v. Bombardier Serv. Corp., 2007 WL 601921, * 3 (M.D. Fla. Feb. 21, 2007) (citing

  W&O, 213 F.3d at 621) (“[D]eposition costs are taxable even if a prevailing party’s use of a

  deposition is minimal or not critical to that party’s ultimate success”).

        All the depositions for which W&K seeks to tax deposition-related costs were

  necessary to issues in the case when the depositions were taken. For example, the depositions

  of the parties’ respective experts Andreas Antonopoulos, Stefan Boedeker, Nicholas

  Chambers, Dr. William Choi, Dr. Matthew Edman, Dr. William Eggington, Dr. Ami Klin, Dr.

  Robert Leonard, Dr. D. Stewart MacIntyre, Jr., Kevin E. Madura, William R. Nicholson were

  necessary for trial preparation. Moreover, most of the fact witnesses deposed were located

  out of state, and both W&K and Defendant submitted and used deposition designations of

  these transcripts at trial. W&K can also recover the costs of obtaining copies of depositions

  taken by Defendant. See Rivers, 2006 WL 5838358, at *2 (“charges for a copy of a deposition

  taken by an opponent are taxable as well”). Moreover, a prevailing party is entitled to the costs

  of taking the deposition of any witness listed on the opposing party’s witness list. See, e.g.,

  W&O, Inc., 213 F.3d at 621; Burns v. City of Cape Coral, 2012 WL 5381944, *2 (M.D. Fla.

  Nov. 1, 2012) (“[D]eposition costs associated with summary judgment and depositions of



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  deponents listed on the losing party’s witness list are recoverable.”); see also Rivers, 2006

  WL 5838358, at *1. Here, Defendant’s witness list included Nicholas Chambers, Dr. William

  Choi, Dr. William Eggington, Dr. Ami Klin, Dr. D. Stewart MacIntyre, Jr., Kevin E. Madura,

  and William R. Nicholson. Thus, it is reasonable to tax the deposition transcripts of these

  witnesses.

        All of the witnesses whose depositions were noticed by Plaintiff either had personal

  knowledge of the matter, were experts, and/or were disclosed by or known to both sides as

  individuals with knowledge of the matter. See Monelus, 609 F. Supp. 2d at 1337 (“Because

  the parties presumably have equal knowledge of the basis for each deposition… the non-

  prevailing party bears the burden of showing that specific deposition costs or a court reporter’s

  fee was not necessary for use in the case or that the deposition was not related to an issue

  present in the case at the time of the deposition.”).

         Accordingly, W&K requests its actual out-of-pocket costs for transcripts and videos

  of these depositions in the total amount of $72,079.93. Such transcripts and videos were

  reasonably necessary in light of the circumstances of this litigation and are taxable against

  Defendant. See Composite Exhibit A-2 (Deposition Transcript Invoices), attached to Exhibit

  A.

        IV.     Witness and Subpoena Fees

         Taxation of witness fees is proper pursuant to §1920(3). The amount, however, is

  limited by Title 28 U.S.C. §1821(b), which provides that a witness shall be paid an attendance

  fee of $40.00 per day for each day’s attendance at trial. See Ferguson, 2007 WL 601921, at

  *5; see also Price, 2000 U.S. Dist. LEXIS 21504, at *7. Further, 28 U.S.C. §1920 specifically

  delineates taxing private process server fees. W&O, Inc., 213 F.3d at 624. Additionally,



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  pursuant to 28 U.S.C. §1821(b), witnesses shall be paid a fee for attendance in sitting during

  depositions. Accordingly, these costs are taxable against Defendant. W&K incurred a total

  of $7,021.75 for service of subpoenas and witness fees to third parties. Such payments are

  detailed in Composite Exhibit A-3, Subpoena and Witness Fees Invoices, attached to Exhibit

  A.

         W&K also incurred substantial costs in securing witnesses Ramona Watts (wife of

  Defendant Craig Wright) and Andrew O’Hagan’s deposition testimony, both of which were

  played at trial, through the courts of England. The High Court of England and Wales

  Commercial Court assessed and ordered W&K to pay Ramona Watts a total of £142,367.63.

  See Consent Order dated Nov. 5, 2021, attached hereto as Exhibit B. The High Court of

  Justice Media and Communications assessed and ordered W&K to pay Andrew O’Hagan a

  total of £127,695.48. See Final Costs Certificate dated Mar. 23, 2021, attached hereto as

  Exhibit C. These witnesses and their depositions were necessary in this litigation and are

  taxable against Defendant. Accordingly, W&K requests its total out-of-pocket costs for

  witnesses Ramona Watts and Andrew O’Hagan in the amount of £270,063.11.

         V.     Hearing and Trial Transcripts

         W&K is entitled to recover the costs of obtaining hearing transcripts necessarily

  obtained for use in the case. See, e.g., Procaps v. Patheon, Inc., 2016 WL 411017, at *3 (S.D.

  Fla. Feb. 2, 2016) (costs for hearing transcripts are also taxable); Embroidme.com, Inc. v.

  Travelers Property Cas. Co. of Am., 2014 WL 5325211, at *4 (S.D. Fla. Aug. 20, 2014) (cost

  for ordinary transcription of court hearing is permitted under 28 U.S.C. § 1920 as a fee for a

  transcript necessarily obtained for use in the case). W&K obtained copies of the hearing

  transcripts and the trial transcripts for use during trial and in later filings and proceedings. The


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  cost of the transcripts was $29,554.94. The invoice for the transcript is attached to Ex. A as

  Composite Exhibit A-4 (Hearing and Trial Transcripts).

        VI.     Interest

         The total costs awarded bear interest from the date of the original judgment. See 28

  U.S.C. §1961; see also Georgia Ass’n. of Retarded Citizens v. McDaniel, 855 F.2d 794, 799

  (11th Cir. 1988) (“We conclude that when a district court taxes costs against a losing party,

  the award of costs bears interest from the date of the original judgment.”). As such, these

  costs bear interest starting from December 7, 2021. See Final Judgment dated Dec. 7, 2021,

  attached hereto as Exhibit D.

        VII.    Conclusion

         WHEREFORE, Plaintiff W&K, respectfully requests that the Court grant this Motion

  for taxable costs in the amount of $108,656.62 and £270,063.112 and grant W&K its taxable

  costs and such other relief as the Court deems appropriate.



                             S.D. FLA. L.R. 7.1 CERTIFICATION

         In accordance with S.D. Fla. L.R. 7.1(a)(3), counsel for W&K Info Defense Research

  conferred with Defendant’s counsel who opposes the relief sought herein.




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    Under the applicable exchange rate, this amounts to $364,950.14. Effective Dec. 31, 2021, and
  last updated on Jan. 14, 2022, the applicable U.S. Dollar exchange rate for the United Kingdom-
  Pound is 0.74 percent. See Treasury Reporting Rates of Exchange at
  https://fiscaldata.treasury.gov/datasets/treasury-reporting-rates-exchange/treasury-reporting-
  rates-of-exchange.


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   Dated: January 20, 2022                   Respectfully submitted,

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                                             Counsel to Plaintiffs Ira Kleiman as
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                                             David Kleiman and W&K Info Defense
                                             Research, LLC.




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 20, 2022 a true and correct copy of the foregoing

   was filed under Seal with CM/ECF, and served by E-mail to all counsel of record.


                                                      /s/   Andrew S. Brenner
                                                      Andrew S. Brenner, Esq.




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